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Appellate Case: 21-7020 Document: 010110624598 Date Filed: 12/27/2021 Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                      December 27, 2021


  Mr. Ezekiel Davis #186754
  Lawton Correctional Facility
  8607 SE Flower Mound Road
  Lawton, OK 73501-9700

  Ms. Kari Hawkins
  Office of the Attorney General for the State of Oklahoma
  313 NE 21st Street
  Oklahoma City, OK 73105

  Mr. Patrick Keaney
  United States District Court for the Eastern District of Oklahoma
  Office of the Clerk
  100 North 5th Street
  P.O. Box 607
  Muskogee, OK 74401

  Mr. Darrell L. Moore
  J. Ralph Moore PC
  P.O. Box 368
  Pryor, OK 74362-0000

  RE:       21-7020, Davis v. Core Civic, et al
            Dist/Ag docket: 6:18-CV-00396-JFH-SPS

 Dear Counsel, Clerk and Appellant:

 Please be advised that the court issued an order today dismissing this case.

 In addition, pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's
 mandate issued today, and the court's judgment takes effect. With the issuance of this
 letter, jurisdiction is transferred back to the lower court.
   6:18-cv-00396-JFH-SPS Document 198 Filed in ED/OK on 12/27/21 Page 2 of 2
Appellate Case: 21-7020 Document: 010110624598 Date Filed: 12/27/2021 Page: 2
 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court




  CMW/djd




                                              2
